                            Case 5:20-cv-00222-MAD-ATB Document 1-1 Filed 02/27/20 Page 1 of 1
,s 44 (Rev.09/19)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEEINSTRUCTlONSONNEXTPAGEOFTHISFORM.)

I.(a) PLAINTIFFS                                                                                              DEFENDANTS
 JIANGSU GTIG ESEN CO., LTD.,                                                                               AMERICAN FASHION NETWORK, LLC AND JES APPAREL, LLC,

    (b~ County of Residence of First Listed Plaintiff       n/a                                               County of Residence of First Listed Defendant             ONONDAGA
                                  (EXCEPTIN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

     ~C~ AttOrilCyS (Firm Name, Address, and Telephone Number)                                                 Attorneys (IfKnown)

Brian Butler, Bond, Schoeneck, &King, PLLC, One Lincoln Center,
Syracuse, NY, 13202,(315)218-8100
II. BASIS OF JURISDICTION(Placean"x"in oneaoxonly)                                               III. CITIZENSHIP OF PRINCIPAL PARTIES(P[ace an "x"in one Boxjor Plainti/j
                                                                                                        (  For Diversity Cases Only)                                       and One Boxfor Defendant)
O 1      U.S. Government               O 3    Federal Question                                                                     PTF      DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State         O 1      O 1       Incorporated or Principal Place      O 4     C~ 4
                                                                                                                                                        of Business In This State

O 2 U.S. Government                    t~ 4   Diversity                                              Citizen of Another State       O 2      O    2   Incorporated and Principal Place      $1 5         O 5
       Defendant                                (Indicate Citizenship ofParlies in /tern Ill)                                                            of Business In Ano[her State

                                                                                                     Citizen or Subject ofa         O 3      O    3   Foreign Nation                         O 6         O 6
                                                                                                       Forei n Count
iV_ NATiIRF nF ~iTiT ini„~P,,,, "x•';., n.,o u,,,-n.,i„~                                                                                     ~i:~v Her,.f.• rr~+,,..,,.rc,.:t r,.a„ r~~~,..:...:,.....
             ONTRACT                                            T RT                                   FORFEITURE/PENALTY                        BANKRUPTCY                  'OTHER STATUTE
O 110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY               O 625 Dcug Related Seizure         O 422 Appeal 28 USC 158          O 375 False Claims Act
O 120 Marine                         O 310 Airplane                  O 365 Persona] Injury -               of Property 21 USC 881       O 423 Withdrawal                 O 376 Qui Tam (31 USC
O 130 Miller Act                     O 315 Airplane Product                 Product Liability        O 690 Other                              28 USC 157                        3729(a))
O 140 Negotiable Instrument                 Liability                O 367 Health Care/                                                                                  O 400 State Reapportionment
O 150 Recovery of Overpayment        O 320 Assault, Libel &                Pharmaceutical                                                   R PERTY RI T                 O 410 Antitrust
      & Enforcement of Judgment             Slander                        Personal Injury                                              O 820 Copyrights                 O 430 Banks and Banking
O 151 Medicare Act                   O 330 Federal Employers'              Product Liability                                            O 830 Patent                     O 450 Commerce
O 152 Recovery of Defaulted                 Liability                O 368 Asbestos Personal                                            O 835 Patent -Abbreviated        O 460 Deportation
      Student Loans                  O 340 Marine                           Injury Product                                                    New Dtug Application       O 470 Racketeer Influenced and
    (Excludes Veterans)              O 345 Marine Product                   Liability                                                   O 840 Trademark                        Corrupt Organizations
O 153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                          LAB R                         I           I Y           O 480 Consumer Credit
      of Veteran's Benefits          O 350 Motor Vehicle             O 370 Other Fraud               O 710 Fair Labor Standards         O 861 HIA (1395f~                      (IS USC 1681 or 1692)
O 160 Stockholders' Suits            O 355 Motor Vehicle             O 371 Truth in Lending                 Act                         O 862 Black Lung(923)            O 485 Telephone Consumer
~ 190 Other Contract                       Product Liability         O 380 Other Personal            O 720 Labor/Management             O 863 DIWC/DIW W (405(g))               Protection Act
O 195 Contract Product Liability     O 360 Other Personal                  Property Damage                  Relations                   O 864 SSID Title XVI             O 490 Cable/Sat TV
O 196 Franchise                            Injury                    O 385 Property Damage           O 740 Railway Labor Act            O 865 RSI(405(g))                O 850 Securities/Commodities/
                                     O 362 Personal Injury -               Product Liability         O 751 Family and Medical                                                   Exchange
                                           Medical Mal ractice                                              Leave Ac[                                                    O 890 Other Statutory Actions
       'REAL PROPERTY                    CIVIL RIGHTS                PRISONER PET[TIONS              O 790 Other Labor Litigation         FEDERAL TAX SUITS              O 891 Agricultural Acts
O   210 Land Condemnation            O 440 Other Civil Rights          Habeas Corpus:                O 79t Employee Retirement          O 870 Taxes(U.S. Plaintiff       O 893 Environmental Matters
O   220 Foreclosure                  O 441 Voting                    O 463 Alien Detainee                  Income Security Act                or Defendant)              O 895 Freedom of Information
O   230 Rent Lease & Ejectment       O 442 Employment                O 510 Motions to Vacate                                            O 871 IRS—Third Party                   Act
O   240 Torts to Land                O 443 Housing/                        Sentence                                                           26 USC 7609                O 896 Arbitration
O   245 Tort Product Liability             Accommodations            O 530 General                                                                                       O 899 Administrative Procedure
O   290 Alf Other Real Property      O 445 Amer. w/Disabilities -    O 535 Death Penalty                   IMMIGRATION                                                         ActlReview or Appeal of
                                           Employment                  Other:                        O 462 Naturalization Application                                          Agency Decision
                                     O 446 Amer. w/Disabilities -    O 540 Mandamus &Other           O 465 Other Immigration                                             O 950 Constitutionality of
                                          Other                      O 550 Civil Rights                    Actions                                                             State Statutes
                                     O 448 Education                 O 555 Prison Condition
                                                                     O 560 Civil Detainee -
                                                                           Conditions of
                                                                          Confinement

V. UK1Cil1V (Place an "X"in One Box Only)
    I   Original           Q 2 Removed from              ~ 3        Remanded from               Q 4 Reinstated or      O 5 Transferred from           Q 6 Multidistrict             O 8 Multidistrict
        Proceeding             State Court                          Appellate Court                 Reopened               Another District               Litigation -                  Litigation -
                                                                                                                           (specify)                      Transfer                     Direct File
                                         l;1TC TnC U.S. l;lvtl Jt3tute untleC WrilCfl you are h11ng(Do not citejurisdict[ana/statutes unless diversity):
                     28 U.S.C. 1332
VI. CAUSE OF ACTION grief description of cause:
                     Breach of contract, UCC 2-709, accounts stated and unjust enrichment.
VII. REQUESTED IN   Q CHECK IF THIS IS A CLASS ACTION        DEMAND $                      CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.               4,257,827.70                JURY DEMAND:         ~ Yes      ONo
VIII. RELATED CASES)
      IF ANY          (See instructions):
                                            JUDGE                                     DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
02/27/2020                                                             s/Brian J. Butler
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT
                                              $400.00                       APPLYING IFP                                  JUDGE         MAD                 MAG. JUDGE        ATB
        ANYNDC-5043638
                                                                                                                                                 5:20-cv-222
